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                       9                              UNITED STATES DISTRICT COURT

                   10                               CENTRAL DISTRICT OF CALIFORNIA

                   11          RAVEN JACKSON, an individual,            Case No. 2:19−cv−09833 DSF (JEMx)
                   12                         Plaintiff,                ASSIGNED FOR ALL PURPOSES TO
                                                                        THE HONORABLE DALE S. FISCHER
                   13          v.
                                                                        ORDER GRANTING JOINT
                   14          PRIME NOW LLC, a California              STIPULATION FOR DISMISSAL
                               limited liability company, and DOES 1    WITH PREJUDICE PURSUANT TO
                   15          through 10, inclusive,                   FED. R. CIV. P. 41(a)(1)(A)(ii)
                   16                         Defendants.
                   17                                                   Complaint filed: October 10, 2019 (Los
                                                                        Angeles Superior Court)
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LITTLE R MEND ELSO N, P .C .   ORDER GRANTING
     2049 C entury Park East
            5th Floor                                                  2.
  Los Angeles, CA 90067.3107
          310.553.0308         DISMISSAL
                     Case 2:19-cv-09833-DSF-JEM Document 21 Filed 10/19/20 Page 2 of 2 Page ID #:220



                       1                                             ORDER
                       2             The Court has reviewed the Joint Stipulation for Dismissal with Prejudice filed
                       3       by Defendant PRIME NOW LLC and Plaintiff RAVEN JACKSON.
                       4             IT IS HEREBY ORDERED that Plaintiff’s Complaint in the above-referenced
                       5       action is dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a).
                       6       Each party shall bear their own respective attorneys’ fees and costs incurred in this
                       7       action.
                       8             IT IS SO ORDERED.
                       9
                   10                 October 19, 2020
                               Dated: _____________
                                                                        HON. DALE S. FISCHER
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